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UNITED STA TES DISTRICT COURT                                             ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                                  DATE FILED:   ~r ~


         -against                                                               ORDER
                                                                           18 CR 217 (KMW)
ALEXANDRU BURDUCEA,

                                        Defendant.
------------------------------------------------------------------x
KIMBA M. WOOD, District Judge:

         Due to a conflict with the Court's calendar, the sentencing currently scheduled for July

23 , 2019, is adjourned to Wednesday, July 31 , 2019, at 11:30 a.m.

         SO ORDERED.

Dated : New York, New York
        June 26, 2019


                                                           KIMBA M. WOOD
                                                      UNITED ST ATES DISTRICT JUDGE
